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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA


UNITED STATES OF AMERICA,                           )
                                                    )    3:08-cr-00006-LRH-RAM
                      Plaintiff,                    )
                                                    )    MINUTE ORDER
vs.                                                 )
                                                    )    June 17, 2010
DARIN JEROME FRENCH and JENNIFER                    )
LYNN FRENCH, aka JENNIFER THOMAS,                   )
                                                    )
                      Defendants.                   )
                                                    )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:         NONE APPEARING                REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                     NONE APPEARING
COUNSEL FOR DEFENDANT(S):                     NONE APPEARING
MINUTE ORDER IN CHAMBERS:
       Plaintiff having filed an ex parte motion (#126), under seal, on June 11, 2010, and good
cause appearing,

        IT IS HEREBY ORDERED that Plaintiff shall serve motion (#126) upon Defendants;

       IT IS HEREBY FURTHER ORDERED that Defendants shall file a responsive pleading
within 14 days of service of the motion (#126);

        IT IS HEREBY FURTHER ORDERED that Plaintiff shall file a reply within 7 days after
service of Defendants’ responsive pleading. The matter will then be submitted to the Court for
decision.

        IT IS SO ORDERED.

                                            LANCE S. WILSON, CLERK

                                            By:           /s/
                                                           Deputy Clerk
